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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:14:CR:196-05
v.
                                                      HON. GORDON J. QUIST
DONALD ROY WILLIAMS,

            Defendant.
______________________________/

                                              ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed January 13, 2015, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Donald Roy Williams's plea of guilty to Count One of the Superseding

Indictment is accepted. Defendant Donald Roy Williams is adjudicated guilty and bond will be

revoked at the time of reporting.

       3.      Defendant Donald Roy Williams shall report to the United States Marshal in Grand

Rapids, Michigan, at 2:00 PM, Tuesday, February 10, 2015. Defendant Donald Roy Williams

shall be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: January 27, 2015                                     /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
